     CASE 0:11-cr-00228-MJD-JJK     Doc. 118    Filed 10/18/11   Page 1 of 11




                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA


United States of America,                            Crim. No. 11-228 (MJD/JJK)

                   Plaintiff,

v.

3. Patrick Joseph Kiley,                        ORDER AND REPORT
also known as Pat Kiley;                       AND RECOMMENDATION

                   Defendants.


Tracy L. Perzel, Esq., and David J. MacLaughlin, Esq., Assistant United States
Attorneys, counsel for Plaintiff.

David E. Zins, Esq., Attorney at Law, and H. Nasif Mahmoud, Esq., McKenzie,
Wilkes & Mahmoud, counsel for Defendant Kiley.


      This action came on for hearing before the Court on October 17, 2011, at

the U.S. Courthouse, 316 North Robert Street, St. Paul, MN 55101, on

Defendant Kiley’s various pre-trial motions. Based on the file and documents

contained herein, along with the memoranda and arguments of counsel, the

Court makes the following Order:

      1.    Defendant Kiley’s Motion to Dismiss. Defendant Kiley moves to

dismiss the Indictment, asserting that the Government cannot prove the elements

necessary to find Defendant guilty of the charges asserted against him. (Doc.

Nos. 93, 94.). Defendant asserts that there is no evidence to support the
     CASE 0:11-cr-00228-MJD-JJK        Doc. 118    Filed 10/18/11   Page 2 of 11




allegations made against him, and argues in length as to why Defendant Kiley

rebuts the charges. The Government opposes the motion.

      Federal Rule of Criminal Procedure 7 requires an indictment to “be a plain,

concise, and definite written statement of the essential facts constituting the

offense charged . . . . For each count, the indictment must give the official or

customary citation of the statute, rule, regulation, or other provision of law that

the defendant is alleged to have violated.” Fed. R. Crim. P. 7(c)(1).

      An indictment is legally sufficient on its face if it contains all of the
      essential elements of the offense charged, fairly informs the
      defendant of the charges against which he must defend, and alleges
      sufficient information to allow a defendant to plead a conviction or
      acquittal as a bar to a subsequent prosecution. An indictment will
      ordinarily be held sufficient unless it is so defective that it cannot be
      said, by any reasonable construction, to charge the offense for
      which the defendant was convicted.

United States v. Carter, 270 F.3d 731, 736 (8th Cir. 2001) (citations omitted).

      Defendant Kiley is not challenging the validity of the Indictment on its face.

Instead, Defendant raises fact disputes regarding whether Defendant is guilty of

the counts alleged, and therefore argues that the charges in the Indictment are

not supported by adequate evidence. It is well established that insufficient

evidence is not a basis for dismissal of a facially valid indictment. See Costello v.

United States, 350 U.S. 359, 363–64 (1956); United States v. Nelson, 165 F.3d

1180, 1182 (8th Cir. 1999) (“It has long been settled that an indictment is not

open to challenge on the ground that there was inadequate or insufficient




                                          2
     CASE 0:11-cr-00228-MJD-JJK      Doc. 118    Filed 10/18/11   Page 3 of 11




evidence before the grand jury.”). Therefore, this Court RECOMMENDS that

Defendant Kiley’s Motion to Dismiss (Doc. No. 93), be DENIED.

      2.    Defendant Kiley’s Motion to Suppress Statements of Patrick J.

Kiley. Defendant Kiley moves to suppress his statements on the grounds that

the statements were made without the assistance of counsel in violation of

Defendant’s Fifth and Sixth Amendment rights, and were not given freely or

voluntarily, therefore violating the Fourth and Fifth Amendments to the

Constitution. The Government opposes this motion. Specifically, the

Government asserts that Defendant Kiley did not make any statements while in

custody or pursuant to questioning while represented by counsel. At the hearing,

no testimony was provided on the issue. However, the Government submitted as

an exhibit an August 1, 2011 letter from AUSA Tracy Perzel to Defendant’s

counsel Mr. Zins, which attaches the FBI 302s memorializing Mr. Kiley’s

interactions and comments made to law enforcement investigators, to which

there was no objection. (Hr’g Ex. 1.) Defendant Kiley did not present any

additional evidence—aside from his boilerplate allegations—in support of

suppression.

      “It is well established that the burdens of production and persuasion

generally rest upon the movant in a suppression hearing.” United States v.

Starks, 193 F.R.D. 624, 629 (D. Minn. 2000) (quoting United States v. de la

Fuente, 548 F.2d 528, 533 (5th Cir. 1977), cert. denied, 431 U.S. 932 (1977));

see also United States v. Phillips, 540 F.2d 319, 325–26 (8th Cir. 1976) (stating


                                        3
     CASE 0:11-cr-00228-MJD-JJK       Doc. 118    Filed 10/18/11   Page 4 of 11




that the ultimate burden of proof is on the defendant who seeks to suppress

evidence). “At a minimum, it is defendant’s burden to come forth with some

evidence and argument to support his position that evidence . . . should be

suppressed.” United States v. Rosetter, Crim. No. 10-83 (JNE/JSM), 2010 WL

5184991, at *23 (D. Minn. Oct. 1, 2010) (citing Starks, 193 F.R.D. at 629); see

also Starks, 193 F.R.D. at 628 (“[E]ven in those circumstances where the

Government has the ultimate burden of persuasion, Defendant has the initial

burden of making a prima facie showing of illegality.”). And “[f]ailure to provide

the Court with any support for the motion is a sufficient basis for denial of the

motion.” Rosetter, 2010 WL 5184991, at *23. Defendant Kiley has not met his

burden. Accordingly, this Court concludes that there were no constitutional

violations, and RECOMMENDS that Defendant Kiley’s Motion to Suppress

Statements of Patrick J. Kiley (Doc. No. 95), be DENIED.

      3.     Defendant Kiley’s Motion for Disclosure of 404(b) Evidence and

Material. Defendant Kiley moves for disclosure of evidence of “bad acts” or

“similar course of conduct” evidence it intends to offer at trial pursuant to Fed. R.

Evid. 404. The Government states that it has no objection to disclosing its Rule

404(b) evidence in advance of trial, and recommends that, consistent with the

Orders issued as to Co-Defendants in this case, such disclosures should be

ordered to be made at least thirty days before trial. Defendant Kiley’s Motion for

Disclosure of 404(b) Evidence and Material (Doc. No. 96), is GRANTED as

further stated herein. The Government shall disclose evidence encompassed by


                                          4
     CASE 0:11-cr-00228-MJD-JJK       Doc. 118   Filed 10/18/11   Page 5 of 11




Rule 404(b) as soon as practicable after the Government has determined to use

such evidence, but no less than thirty days before trial, and in accordance with

all rules and statutes. Whether particular evidence is admissible is a matter

properly determined in the context of trial.

      4.     Defendant Kiley’s Motion to Disclose Evidence Favorable to the

Defendant. Defendant Kiley moves the Court for an order compelling the

attorney for the Government to disclose evidence favorable to the Defendant.

The Government asserts that it understands and has complied with its discovery

obligations under Brady v. Maryland, 373 U.S. 83 (1963), and its progeny.

Defendant Kiley’s Motion to Disclose Evidence Favorable to the Defendant (Doc.

No. 97), is GRANTED to the extent that the Government shall continue to

provide information as required by the rules and pursuant to Brady, Giglio, and

their progeny, but DENIED to the extent that the Jencks Act protects disclosure.

      5.     Defendant Kiley’s Motion for Discovery. Defendant Kiley seeks

an order pursuant to Fed. R. Crim. P. 16 requiring the Government to disclose all

written, recorded, or oral statements made by Defendant, and Defendant’s prior

record. In addition, Defendant asks for copies of certain objects, including

photographs, which are material to the preparation of the defense or are intended

for use by the Government as evidence at trial, or were obtained from or

belonged to Defendant, and for copies of the results or reports of any physical or

mental examinations and scientific tests or experiments. The Government does

not oppose the motion to the extent it is consistent with Rule 16. Therefore,


                                          5
     CASE 0:11-cr-00228-MJD-JJK       Doc. 118     Filed 10/18/11   Page 6 of 11




Defendant Kiley’s Motion for Discovery (Doc. No. 98), is GRANTED to the extent

that it conforms to the scope of Rule 16, and the Government should continue to

disclose evidence as required by the rules and pursuant to Brady v. Maryland,

373 U.S. 83 (1963), and as subsequently delineated in the case law, including

limitations upon the Government’s obligation. Identification of witnesses and

exhibits shall be done in accordance with the District Court’s pretrial order on

disclosure of witness and exhibit lists. Expert witness information shall be

disclosed at least thirty days prior to trial. Rebuttal witness information shall be

disclosed at least fourteen days prior to trial.

      6.     Defendant Kiley’s Motion for Disclosure of Jencks Material.

Defendant Kiley moves for an order requiring the Government’s early compliance

with the Jencks Act, specifically requesting disclosure prior to the

commencement of the trial. The Jencks Act generally provides that the

Government may not be compelled to disclose witness statements and reports

prior to presentation of the witness’ testimony at trial. The Government

represents that it intends voluntarily to make Jencks Act material available to

Defendant three days prior to trial, and that it will inquire of defense counsel

regarding an early, reciprocal exchange of witness statements. However,

because the Government opposes being compelled to do so and because the

statute plainly provides that “no statement or report in the possession of the

United States which was made by a Government witness or prospective

Government witness (other than the defendant) shall be the subject of subpoena,


                                          6
      CASE 0:11-cr-00228-MJD-JJK         Doc. 118   Filed 10/18/11   Page 7 of 11




discovery, or inspection until said witness has testified on direct examination in

the trial of the case,” Defendant Kiley’s Motion for Disclosure of Jencks Material

(Doc. No. 99), is DENIED. Nothing in this Order precludes the Government,

however, from making Jencks Act material available to Defendants three days

prior to trial as it customarily does.

      7.     Defendant Kiley’s Motion for Disclosure of Exhibit List.

Defendant seeks a list of all exhibits the Government intends to introduce at trial,

and requests the list to be provided at a minimum of sixty days before trial. The

Government opposes the motion, but states that it “will inquire of defense

counsel regarding an early, reciprocal exchange of exhibit lists and will remain

open to an agreement with counsel concerning an agreement to an earlier,

reciprocal exchange.” (Doc. No. 110, Gov’ts Omnibus Response 6.) Fed. R.

Crim. P. 16 does not require such disclosure. Therefore, Defendant Kiley’s

Motion for Disclosure of Exhibit List (Doc. No. 100) is DENIED. Exhibit lists shall

be made in accordance with the District Court’s pretrial order.

      8.     Defendant Kiley’s Motion for Suppression of Wiretap Evidence,

Oral Communications and Other Electronic Eavesdropping. Defendant Kiley

requests an order requiring the Government to disclose all logs, records,

memoranda, and other documents and recordings to the electronic surveillance

or wire-tapping directed against Defendant, and for an order suppressing all

evidence derived from electronic surveillance. The Government represents that

there was no Title III wiretap employed in this case, and that to the extent any


                                            7
     CASE 0:11-cr-00228-MJD-JJK       Doc. 118    Filed 10/18/11   Page 8 of 11




recordings were made, a party to the recordings consented to those recordings.

Based on the Government’s representations, Defendant Kiley’s Motion for

Suppression of Wiretap Evidence, Oral Communications and Other Electronic

Eavesdropping (Doc. No. 101), is DENIED AS MOOT. This motion will not be

referred to the District Court on Report and Recommendation.

      9.     Defendant Kiley’s Motion for Early Discovery of Post

Conspiracy Statement of Co-Defendant. Defendant Kiley moves the Court for

an order pursuant to Rule 16 of the Federal Rules of Criminal Procedure and

Bruton v. United States, 391 U.S. 123 (1968), compelling the Government to give

notice and disclosure of its intent to use evidence at trial of statements or

confessions of any defendant or co-conspirator, with a designation of which

statement or confession the Government plans to utilize, and granting Defendant

leave to file motions for severance, suppression, and/or motions in limine. The

Government objects, but represents that it will disclose Jencks, Brady, and Giglio

material concerning any witnesses it will call in advance of trial and in

accordance with the Court’s orders, and states that it will work with defense

counsel to resolve any Bruton issues. Defendant Kiley’s Motion for Early

Disclosure of Post Conspiracy Statements of Co-Defendant (Doc. No. 102), is

GRANTED IN PART and DENIED IN PART. To the extent that the motion seeks

evidence favorable to the Defendant, the statements will be produced pursuant to

the Court’s Order on various motions seeking exculpatory evidence, impeaching

evidence, and evidence otherwise favorable to Defendant. The motion is further


                                          8
     CASE 0:11-cr-00228-MJD-JJK        Doc. 118    Filed 10/18/11   Page 9 of 11




GRANTED to the extent that it conforms to the scope of Rule 16, and the

Government shall comply with any obligations that may arise under Bruton v.

United States, 391 U.S. 123 (1968). The motion is otherwise DENIED. Any

motions in limine shall be filed in accordance with the District Court’s pretrial

order. And the Government may make Jencks Act material available to

Defendant three days prior to trial.

      10.     Defendant Kiley’s Motion to Retain Tangible Evidence Rough

Notes and Like Materials. Defendant moves for an order requiring any agent to

retain and preserve tangible evidence, field notes, memoranda, or other

recordings of facts and other information gathered during the investigation of the

incidents that led to the indictment in this case. The Government objects only to

disclosure of rough notes. Therefore, Defendant Kiley’s Motion to Retain

Tangible Evidence Rough Notes and Like Materials (Doc. No. 103), is

GRANTED to the extent that agents retained such records and evidence while

investigating Defendants. The Court makes no determination as to whether

these matters are discoverable; therefore, disclosure is not required pursuant to

this Order.

      11.     Defendant Kiley’s Motion to Adopt Non-Duplicitous Motions of

Co-Defendants. Defendant Kiley moves for permission to join in any and all Co-

Defendants’ motions that apply to his position in this case. The Government

opposes the motion. Defendant Kiley’s Motion to Adopt Non-Duplicitous




                                          9
     CASE 0:11-cr-00228-MJD-JJK        Doc. 118     Filed 10/18/11   Page 10 of 11




Motions of Co-Defendants (Doc. No. 104), is DENIED. Defendant, however,

may file additional motions upon a showing of good cause for untimely filing.

      12.    Defendant Kiley’s Motion to Disclose Informants and Make

Available for Interview. Defendant Kiley seeks an order requiring the

Government to disclose the identity of any informant or informants used by the

Government in its investigation of this matter, whether such individuals were

active participants in the offenses charged, whether such individuals are

witnesses to the offenses charged, whether law enforcement officials followed

internal guidelines in utilizing the individuals, and the results of any suitability

study and/or other internal documentations regarding the propriety of using the

individuals as informants and/or cooperating witnesses. Defendant also requests

that the Government be required to make any such informants available for

interview. The Government asserts that it will disclose the identity of the

unknown confidential informants and their prior convictions, if any, to Defendant

Kiley by the conclusion of the motions hearing. The Government also asserts

that it will be the informant’s decision as to whether to participate in any pretrial

interviews. Defendant Kiley’s Motion to Disclose and Make Informants Available

for Interview (Doc. No. 112), is therefore GRANTED consistent with the

Government’s representations. Further, the Government shall make any

informant disclosures to the extent such disclosures are required pursuant to

Roviaro v. United States, 353 U.S. 53 (1957), and subsequent pertinent case




                                           10
     CASE 0:11-cr-00228-MJD-JJK      Doc. 118    Filed 10/18/11   Page 11 of 11




law, and shall continue to provide information as required by Brady, Giglio, and

their progeny.



Date: October 18, 2011
                                                     s/ Jeffrey J. Keyes
                                                    JEFFREY J. KEYES
                                                    United States Magistrate Judge


Under D. Minn. LR 72.2(b), any party may object to the portion of the above that
is a Report and Recommendation by filing with the Clerk of Court, and serving all
parties by November 1, 2011, a writing which specifically identifies those
portions of this Report to which objections are made and the basis of those
objections. Failure to comply with this procedure may operate as a forfeiture of
the objecting party’s right to seek review in the Court of Appeals. A party may
respond to the objecting party’s brief within fourteen days after service thereof.
All briefs filed under this rule shall be limited to 3500 words. A judge shall make
a de novo determination of those portions of the Report to which objection is
made. The portions of the above that are Recommendations do not constitute an
order or judgment of the District Court, and are therefore not appealable directly
to the Circuit Court of Appeals.

       Unless the parties stipulate that the District Court is not required by 28
U.S.C. § 636 to review a transcript of the hearing in order to resolve all objections
made to this Order and Report and Recommendation, the party making the
objections shall timely order and file a complete transcript of the hearing within
ten days of receipt of the Order and Report and Recommendation.




                                         11
